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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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        UNITED STATES OF AMERICA,                              Case No. CR22-037-RSL
10
                            Plaintiff,                         ORDER GRANTING
11
                       v.                                      UNOPPOSED MOTION TO
12                                                             CONTINUE TRIAL AND
        JAQUAN KEON JACKSON,                                   PRETRIAL MOTIONS DUE
13
                            Defendant.                         DATE
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15         This matter comes before the Court on defendant Jaquan Jackson’s “Unopposed Motion
16 to Continue Trial and Pretrial Motions Deadline” (Dkt. # 63). Having considered the facts set
17 forth in the motion, and defendant’s knowing and voluntary waiver (Dkt. # 64), the Court finds
18 as follows:
19 1.      The Court adopts the facts set forth in the unopposed motion: in particular, that
20 (a) defense counsel requires additional time to investigate the facts of the offense because a third
21 party recently retracted a sworn statement accepting responsibility for the firearm, (b) defendant
22 requires additional time to review the discovery himself, and this process is slowed by
23 conditions at FDC SeaTac, (c) defense counsel has recently become aware of arguments based
24 on New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), challenging the
25 constitutionality of 18 U.S.C. § 922(g), and requires additional time to competently make and
26 preserve these arguments, and (d) defense counsel requires additional time to retain a mental
27 health expert to consult with defendant regarding PTSD to ensure that defendant’s ultimate
28 decision is made knowingly, voluntarily, and with confidence in counsel. The Court
     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 1
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 1 accordingly finds that a failure to grant a continuance would deny counsel, and any potential
 2 future counsel, the reasonable time necessary for effective preparation, taking into account the
 3 exercise of due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).
 4         2.      The Court finds that a failure to grant a continuance would likely result in a
 5 miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i).
 6         3.      The Court finds that the additional time requested between the current trial date of
 7 October 31, 2022, and the proposed trial date of March 20, 2023, is a reasonable period of delay.
 8 The Court finds that this additional time is necessary to provide defense counsel reasonable time
 9 to prepare for trial, as defendant has requested more time to prepare for trial, to continue to
10 investigate the matter, to gather evidence material to the defense, and to consider possible
11 defenses. The additional time requested between the current trial date and the new trial date is
12 necessary to provide counsel for the defendant the reasonable time necessary to prepare for trial,
13 considering all of the facts set forth above.
14         4.      The Court further finds that this continuance would serve the ends of justice, and
15 that these factors outweigh the best interests of the public and defendant in a speedier trial,
16 within the meaning of 18 U.S.C. § 3161(h)(7)(A).
17         5.      Defendant has provided a waiver indicating that he has been advised of his right to
18 a speedy trial and that, after consulting with counsel, he has knowingly and voluntarily waived
19 that right and consented to the continuation of his trial to a date up to and including April 3,
20 2023, Dkt. # 64, which will permit his trial to start on March 20, 2023.
21         IT IS HEREBY ORDERED that the trial date shall be continued from October 31,
22 2022 to March 20, 2023, and pretrial motions are to be filed no later than January 20, 2023;
23         IT IS FURTHER ORDERED that the period of time from the current trial date of
24 October 31, 2022, up to and including the new trial date, shall be excludable time pursuant to the
25 Speedy Trial Act, 18 U.S.C. § 3161, et seq. The period of delay attributable to this filing and
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     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 2
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 1 granting of this motion is excluded for speedy trial purposes pursuant to 18 U.S.C.
 2 §§ 3161(h)(1)(D), (h)(7)(A), and (h)(7)(B).
 3         DATED this 3rd day of October, 2022.
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                                                    Robert S. Lasnik
 6                                                  United States District Judge
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     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 3
